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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE


In re:                                            Chapter 11

BOY SCOUTS OF AMERICA AND                         Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,
                                                  Jointly Administered
                     Debtors.


                            OMNIBUS HEARINGS ORDER

              IT IS HEREBY ORDERED that the following omnibus hearings have been

scheduled in the above-captioned cases:

                          DATE                            TIME
                     January 10, 2022                 10:00 a.m. (ET)
                     February 24, 2022                10:00 a.m. (ET)
                      March 16, 2022                  10:00 a.m. (ET)
